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 AO 91 (Rev. 08/09)    Criminal Complaint



                                            UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District of Columbia

                      United States of America                               )
                                     v.     I                                )
                              Mark Simon                                     )       Case No.
                                                                             )
                                                                             )
                                                                             )
                               Defendant s)


                                                              CRIMINAL COMPLAINT

           I, the complainant in t is case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                         Janua     6 2021                in the county of                 ~                  in the
                           District of __          ~C,,-,o,,-,lu=m,-,-=b=ia~
                                                                   __     , the defendant(s) violated:

           Code Section                                                               Offense Description
 18 U.S.C. § 1752(a)(1) and (2)                         Restricted Buildings or Grounds
 40 U.S.C. § 51 04(e)(2)(D) and (G)                     Unlawful Activities on Capitol Grounds




           This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




           ~ Continued on the attached sheet.




                                                                                                                                  ent
                                            I                                                            Printed name and litle

Attested to by the applicant in ccordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone                                      (specify reliable electronic means).
                                                                                                                         2021.01.21 18:42:48
 Date:                01/21/2021                                                                                         -05'00'
                                                                                                           Judge's   signature


 City and state:                                Washin ton DC
